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 9
                      UNITED STATES DISTRICT COURT
10                                DISTRICT OF ARIZONA
11
      Frank Jarvis Atwood,                      CV 22–00625–PHX–JAT (JZB)
12                       Plaintiff,
13           -v-
                                                MOTION TO DISMISS
14    David Shinn, et al.,
                        Defendants.
15
16
17
18                                       INTRODUCTION
19          Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendants David
20 Shinn, James Kimble, Jeff Van Winkle, and Lance Hetmer move this Court to
21 dismiss Plaintiff’s Complaint because there is no case or controversy for this Court
22 to adjudicate. The United States Constitution provides a discrete role for the
23 federal courts, which is to hear and decide actual “cases” and “controversies.” U.S.
24 Const. art. III, § 2. No case or controversy remains in Plaintiff’s challenge to the
25 execution protocol because the Arizona Department of Corrections, Rehabilitation
26 and Reentry (“ADCRR”) has revised its protocol in light of the United States
27 Supreme Court decision in Ramirez v. Collier, 142 S. Ct. 1264 (2022). The revised
28 protocol permits one clergy/spiritual advisor to accompany the inmate in the
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 1 execution       chamber,       and     allows      for     audible     prayer      and
 2 “religious touch” of the inmate during the execution. These changes render moot
 3 the issues raised in the Complaint and deprive this Court of any case or
 4 controversy to adjudicate. Thus, this Court lacks subject matter jurisdiction over
 5 the Complaint and should dismiss it.
 6                                BACKGROUND
           The three claims raised in the complaint are all premised on ADCRR’s
 7
     former execution protocol which did not allow for a spiritual advisor to accompany
 8
     an inmate into the execution chamber or to audibly pray or lay hands on the inmate
 9
     during the execution. Claims 1 and 2 allege violations of Plaintiff’s constitutional
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     rights under the First Amendment’s Establishment and Free Exercise Clauses.
11
     Dkt. # 1, at ¶¶ 40–53. Claim 3 alleges a violation of Plaintiff’s rights under the
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     Religious Land Use and Institutionalized Persons Act (“RLUIPA”), 42 U.S.C. §
13
     2000cc, et. seq. Id. at ¶¶ 54–60.
14
           Plaintiff seeks declaratory relief based on the alleged statutory and
15
     constitutional violations. Id. at 15. Plaintiff also requests an injunction from this
16
     Court ordering ADC to permit a spiritual advisor to “place hands” upon the
17
     Plaintiff and administer last rites under the Greek Orthodox faith. Id. Finally,
18
     Plaintiff seeks an injunction to enjoin ADC from executing him without a valid
19
     execution protocol that accommodates his exercise of religion. Id. at 15–16.
20
           Plaintiff alleges that he first requested a spiritual advisor be present in his
21
     execution chamber on January 2, 2022, through ADC’s informal complaint system.
22
     Id. at ¶ 34. Plaintiff further alleges ADC denied this complaint was denied, citing
23
     prior execution protocol “710 – Execution Procedures 2.1.3.1.1” which did not
24
     allow spiritual advisors inside the execution chamber. Id. at ¶ 35. Plaintiff also
25
     alleges that he filed a formal grievance on January 19, 2022, but it was
26
     unprocessed. Id. at ¶¶ 36–37.
27
           On March 24, 2022, the Supreme Court decided Ramirez where it granted
28
     the petitioner’s request for a preliminary injunction after determining his rights
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 1 under RLUIPA would be violated if the State does not permit his pastor to “lay
 2 hands on him and pray over him during the execution.” 142 S. Ct. at 1277, 1284.
 3 In response to the Ramirez decision, on April 20, 2022, ADCRR revised its
 4 execution protocol to allow one clergy/spiritual advisor into the execution chamber
 5 for audible prayer and religious touch. See Exhibit A at 3, section 2.1.3.1.1. 1 In
                                                                                    0F




 6 conjunction with these revisions, ADCRR created Form 710–9 “Official Witness
 7 Agreement–Clergy or Spiritual Advisor” which details the conditions under which
 8 the spiritual advisor will be allowed to touch and speak with the inmate during the
 9 execution. Exhibit B. Defendants provided a copy of Form 710–9 to Plaintiff’s
10 counsel on April 18, 2022.       The revised execution protocol was provided to
11 Plaintiff’s counsel April 21, 2022.
12 I.      THE REVISED EXECUTION PROTOCOL RENDERS MOOT THE ISSUES RAISED IN
           PLAINTIFF’S COMPLAINT AND THEREFORE DEPRIVES THIS COURT OF A LIVE
13         CASE OR CONTROVERSY.
14         Where, as here, a plaintiff seeks injunctive and declaratory relief, a federal
15 court lacks subject-matter jurisdiction over the case once the issues have become
16 moot because there is no case or controversy for the court to adjudicate. Spears v.
17 City of Tucson, Arizona, 125 F. Supp. 3d 903, 909 (D. Ariz. 2015), aff’d sub nom.
18 Spears v. City of Tucson, 686 F. App’x 492 (9th Cir. 2017) (citing Smith v. Univ. of
19 Wash. Law Sch., 233 F.3d 1188, 1194 (9th Cir. 2000); Am. Rivers v. Nat’l Marine
20 Fisheries Serv., 126 F.3d 1118, 1123–24 (9th Cir. 1997) (a federal court “does not
21 have jurisdiction to give opinions upon moot questions”). A claim becomes moot
22 when: (1) there is no reasonable expectation that the alleged unlawful conduct will
23 recur; and (2) interim relief or events have “completely and irrevocably eradicated
24 the effects of the alleged violation.” Los Angeles County v. Davis, 440 U.S. 625,
25
     ___________________
26
     The execution protocol is also made available to the public on the Arizona
     1
27 Department of Corrections Rehabilitation and Reentry website at:
   https://corrections.az.gov/sites/default/files/policies/900/0710_042022.pdf. (Last
28 visited April 25, 2022.)

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 1 631 (1979). If both conditions are met, the case is moot “because neither party has
 2 a legally cognizable interest in the final determination of the underlying questions
 3 of fact or law.” Id.
 4         There is a limited exception to the mootness doctrine that may apply when
 5 the defendant has voluntarily ceased engaging in the challenged practice. Under
 6 the voluntary cessation exception, a “defendant’s voluntary cessation of a
 7 challenged practice does not deprive a federal court of its power to determine the
 8 legality of the practice.” Chem. Producers and Distrib. Ass’n v. Helliker, 463 F.3d
 9 871, 876 (9th Cir. 2006) (quoting City of Mesquite v. Aladdin’s Castle, Inc., 455
10 U.S. 283, 289 (1982)). This doctrine alleviates the concern that a defendant could
11 resume the challenged conduct as soon as the case is dismissed. Bell v. City of
12 Boise, 709 F.3d 890, 898 (9th Cir. 2013).          A defendant may overcome the
13 voluntary cessation exception to mootness, however, by showing that there is “no
14 reasonable expectation that the wrong will be repeated,” and that it is “absolutely
15 clear that the allegedly wrongful behavior could not reasonably be expected to
16 recur.” Nat’l Res. Def. Council v. City of Los Angeles, 840 F.3d 1098, 1104 (9th
17 Cir. 2016) (quoting Gwaltney v. Smithfield, Ltd. V. Chesapeake Bay Found., 484
18 U.S. 49, 66 (1987)). Once it is “absolutely clear” that the challenged conduct
19 cannot “reasonably be expected to recur,” the fact that a party relies on conjectural
20 or hypothetical speculation “does not give rise to the sort of ‘concrete’ and ‘actual’
21 injury necessary to establish Article III standing.” Already, LLC v. Nike, Inc., 568
22 U.S. 85, 94–97 (2013).
23         A.    The Plaintiff’s complaint is moot.
24         All three claims raised in the complaint were rendered moot when ADCRR
25 revised its execution protocol.     As discussed, ADCRR revised its protocol in
26 response to the Supreme Court’s decision in Ramirez. Accordingly, the alleged
27 unlawful conduct—ADCRR’s denial of a spiritual advisor in the execution
28 chamber to lay hands on and speak to the inmate—will not recur because doing so

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 1 would put ADCRR at odds with federal law. Additionally, ADCRR’s revision to
 2 the    execution    protocol    has   “irrevocably   eradicated”    Plaintiff’s   alleged
 3 constitutional and statutory violations. Davis, 440 U.S. at 631. At this juncture,
 4 there is no relief this Court can provide that is not addressed in the revised
 5 execution protocol. See Foster v. Carson, 347 F.3d 742, 745 (9th Cir. 2003) (“If
 6 there is no longer a possibility that [a plaintiff] can obtain relief for his claim, that
 7 claim is moot and must be dismissed for lack of jurisdiction.”). Thus, Plaintiff’s
 8 claims are moot and must be dismissed because there is no live case or controversy
 9 for this Court to adjudicate.
10         B.     Defendants meet their burden to overcome the voluntary
                  cessation exception.
11
           If Plaintiff invokes the voluntary cessation exception, Defendants meet their
12
     “heavy” burden to overcome it. See Rosebrock v. Mathis, 745 F.3d 963, 971 (9th
13
     Cir. 2014) (citations omitted). Policy changes, such as ADCRR’s revision to the
14
     execution protocol, have been found to render a case moot and overcome the
15
     voluntary cessation exception. See id. at 971–74; see also White v. Lee, 227 F.3d
16
     1214, 1242–44 (9th Cir. 2000). That is the case here.
17
           The Ninth Circuit is more likely to find mootness where: (1) “the policy
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     change is evidenced by language that is ‘broad in scope and unequivocal in
19
     tone[]’”; (2) the policy change addresses all of the challenged conduct that the
20
     defendants took against the plaintiffs in the case; (3) the present case was the
21
     catalyst for the policy change; (4) the length of time the policy has been in place;
22
     and (5) the government agency has not engaged in similar conduct since the
23
     change in policy. Id. at 972 (citations omitted). On the other hand, if the new
24
     policy could be easily abandoned or altered in the future, the Ninth Circuit is less
25
     inclined to find mootness. Id. (citing Bell, 709 F.3d at 901).
26
           Here, Defendants meet their burden because the allegedly wrongful behavior
27
     is not reasonably expected to recur. Nat’l Res. Def. Council, 840 F.3d at 1104.
28
     Additionally, the five Rosebrock factors favor the determination that ADC’s
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 1 revision to the execution protocol has rendered the Plaintiff’s complaint moot.
 2 First, the language in the revised policy broadly allows a spiritual advisor to
 3 accompany the inmate into the execution chamber “for audible prayer and religious
 4 touch, consistent with the U.S. Supreme Court’s Opinion in Ramirez v. Collier
 5 (March 24, 2022)[.]” Exhibit A at 3. The only restrictions imposed on the
 6 spiritual advisor are provided in Form 710–9 and are recommended under Ramirez.
 7 142 S. Ct. at 1283.
 8         Second, the revised policy “fully addresses” all of the objectionable conduct
 9 because it allows for both religious touch and prayer with the inmate.            See
10 Rosebrock, 745 F.3d at 973; White 227 F.3d at 1243.              Third, although the
11 execution protocol was revised to comply with Ramirez, the Plaintiff’s request
12 was, at least in part, the “catalyst” for both the change in protocol and the creation
13 of Form 710–9. See Rosebrock, 745 F.3d at 974.
14         Although the fourth factor, the length of time the policy has been in place,
15 would appear to weigh against finding mootness, that is not the case. While it may
16 be easier to find mootness when a policy has been in effect for a longer period, the
17 overall concern is whether the challenged conduct can “be repeated” or “recur.”
18 Nat’l Res. Def. Council, 840 F.3d at 1104; see also Friends of the Earth, Inc. v.
19 Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (party asserting
20 mootness must show allegedly wrongful behavior not reasonably likely to “recur”);
21 White, 227 F.3d at 1242–44 (party must demonstrate that “the challenged conduct
22 cannot reasonably be expected to start up again”).          Here, ADC revised the
23 execution protocol as soon as practical to comply with federal law, thereby
24 alleviating all concern that the challenged conduct will recur. See Rosebrock, 745
25 F.3d at 971 (citing Am. Cargo Transp., Inc. v. United States, 625 F.3d 1176, 1180
26 (9th Cir. 2010) (“We presume that a government entity is acting in good faith when
27 it changes its policy[.]”)) Any argument to the contrary is “conjectural or
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 1 hypothetical” speculation that is insufficient to overcome mootness. Nike, Inc.,
 2 568 U.S. at 97.
 3         Finally, ADCRR has never “engaged in conduct similar to that challenged
 4 by the plaintiffs[.]” Rosebrock, 745 F.3d at 974 (quoting White, 227 F.3d at 1243).
 5 Although the revision to the execution protocol was recent, it was made within 30
 6 days of the Ramirez decision and no other inmates have since been denied the
 7 presence of a spiritual advisor in the execution chamber.
 8         All five of the Rosebrock factors indicate that the claims raised in the
 9 complaint are moot. This Court cannot provide any relief that has not already been
10 provided through ADCRR’s revision to the execution protocol.           Under these
11 circumstances, “[a]ny opinion by this court at this juncture would amount to an
12 impermissible advisory opinion[.]” See Akina v. Hawaii, 835 F.3d 1003, 1011 (9th
13 Cir. 2016) (citing Princeton Univ. v. Schmid, 455 U.S. 100, 102 (1982) (per
14 curiam) (“We do not sit to decide hypothetical issues or to give advisory opinions
15 about issues as to which there are not adverse parties before us.”)). This Court
16 should therefore dismiss the complaint as moot under Rule 12(b)(1).
17
18         Respectfully submitted this 25th day of April, 2022.
19                                                 Mark Brnovich
                                                   Attorney General
20
                                                   Jeffrey Sparks
21                                                 Acting Chief Counsel
22
23                                                 s/ David Ahl___
                                                   Assistant Attorney General
24
                                                   Attorneys for Defendants
25
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 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that on April 25, 2022, I electronically transmitted the
   attached document to the Clerk’s Office using the ECF System for filing and
 3 served the attached document using ECF on the following registered participants of
   the ECF System:
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